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                   UNITED STATES DISTRICT COURT
                               DISTRICT OF HAWAII

                                                  CR. NO. 18-00068 JMS-WRP
  UNITED STATES OF AMERICA,
                                                  NOTICE OF FILING
                  Plaintiff,                      DECLARATION OF INTERNET
             v.                                   PUBLICATION; DECLARATION
                                                  OF INTERNET PUBLICATION;
  LOUIS M. KEALOHA (2),                           EXHIBIT A
                  Defendant.

     NOTICE OF FILING DECLARATION OF INTERNET PUBLICATION

       The United States of America, by and through its undersigned attorneys,

 attaches for filing the Declaration of Internet Publication as it pertains to the above-

 captioned defendant in the above-entitled case. As the Computerized Asset Tracking

 System (CATS) allows for each asset to be published only once, it was published
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 under the lead defendant in the case, Katherine P. Kealoha (1), but applies equally

 to defendant LOUIS M. KEALOHA (2). The same Declaration of Internet

 Publication therefore applies to each defendant as forfeiting the same asset, and is

 attached to each of their respective Notices of Filing of Internet Publishing.

       Dated: February 11, 2022         Respectfully submitted,

                                        MERRICK B. GARLAND
                                        Attorney General

                                        RANDY S. GROSSMAN
                                        United States Attorney

                                        /s/ Janaki G. Chopra
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                                        COLIN M. MCDONALD
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 United States v. Kealoha, et al., Cr. No. 18-00068 JMS-WRP (02), “Notice of Filing
 Declaration of Internet Publication”




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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


                                               CR. NO. 18-00068 JMS-WRP
 UNITED STATES OF AMERICA,
                                               CERTIFICATE OF SERVICE
                  Plaintiff,
             v.
 LOUIS M. KEALOHA (1),

                  Defendant.




        I hereby certify that, on the date and by the method of service noted below, a
 true and correct copy of the foregoing was served on the following parties:

 Served Electronically through CM/ECF:

 Rustam Barbee, Attorney for Defendant Louis M. Kealoha

       DATED: February 11, 2022, at San Diego, California.

                                        /s/ Janaki G. Chopra
                                        JANAKI G. CHOPRA
                                        Special Attorney to the Attorney General




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